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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. MJ20-703
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   AL-PENYO BROOKS,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14
     Offense charged:       Sex Trafficking of a Juvenile
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     Date of Detention Hearing:    November 4, 2020.
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     that no condition or combination of conditions which defendant can meet will reasonably assure
19
     the appearance of defendant as required and the safety of other persons and the community.
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
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            1.      Defendant has a lengthy criminal record that includes failures to appear, pending
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01 charges, outstanding warrants, criminal activity while under supervision, unemployment and

02 unstable residential history. He does not have an appropriate release address, given the

03 presence of small children in that residence and related safety concerns given the nature of the

04 charges. For these reasons, he poses a risk of nonappearance.

05          2.      Defendant poses a risk of danger based on the nature and circumstances of the

06 offense, prior arrests and convictions, and safety concerns related to the alleged victim..

07          3.      There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11          1. Defendant shall be detained pending trial, and committed to the custody of the

12               Attorney General for confinement in a correction facility;

13          2. Defendant shall be afforded reasonable opportunity for private consultation with

14               counsel;

15          3. On order of the United States or on request of an attorney for the Government, the

16               person in charge of the corrections facility in which defendant is confined shall

17               deliver the defendant to a United States Marshal for the purpose of an appearance in

18               connection with a court proceeding; and

19          4. The Clerk shall direct copies of this Order to counsel for the United States, to

20               counsel for the defendant, to the United States Marshal, and to the United State

21               Probation Services Officer.

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01       DATED this 4th day of November, 2020.

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03                                               A
                                                 Mary Alice Theiler
04                                               United States Magistrate Judge

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     DETENTION ORDER
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